            Case 2:24-cv-01691-CSK Document 3 Filed 06/21/24 Page 1 of 2


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 8                                   UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    EDWARD NOEL THOMAS,                                  No. 2:24-cv-1691 CSK P
12                         Petitioner,
13              v.                                         ORDER
14    CHRISTIAN PFEIFFER,
15                         Respondent.
16

17             Petitioner, a state prisoner proceeding pro se, filed an application for a writ of habeas

18   corpus pursuant to 28 U.S.C. § 2254. Petitioner has not submitted the filing fee or filed a request

19   to proceed in forma pauperis. In his application, petitioner challenges a re-sentencing hearing.

20   Petitioner is confined in Kern County, which is part of the Fresno Division of the United States

21   District Court for the Eastern District of California. See Local Rule 120(d).

22             Pursuant to Local Rule 120(f), a civil action which has not been commenced in the proper

23   division of a court may, on the court’s own motion, be transferred to the proper division of the

24   court. Therefore, this action will be transferred to the Fresno Division of the court.

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         Case 2:24-cv-01691-CSK Document 3 Filed 06/21/24 Page 2 of 2


 1            Good cause appearing, IT IS HEREBY ORDERED that:

 2            1. This action is transferred to the United States District Court for the Eastern District of

 3   California sitting in Fresno; and

 4            2. All future filings shall reference the new Fresno case number assigned and shall be

 5   filed at:
                             United States District Court
 6                           Eastern District of California
                             2500 Tulare Street
 7                           Fresno, CA 93721
 8

 9   Dated: June 20, 2024

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